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                        EXHIBIT 2
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                                                                    Page 1

1                       UNITED STATES DISTRICT COURT

                          NORTHERN DISTRICT OF OHIO

2                               EASTERN DIVISION

         ______________________________

3        IN RE: NATIONAL PRESCRIPTION          |

4        OPIATE LITIGATION                     | MDL No. 2804

5        This document relates to:             | Case No. 17-md-2804

6        Jennifer Artz v. Endo Health          | Judge Dan Aaron Polster

7        Solutions Inc., et al.                |

8        Case No. 1:19-OP-45459                |

9        Darren and Elena Flanagan v.          |

10       McKesson Corporation, et al.          |

11       Case No. 1:18-OP-45405                |

12       Michelle Frost, et al., v.            |

13       Endo Health Solutions Inc.,           |

14       et al.                                |

15       Case No. 1:18-OP-46327                |

16       Walter and Virginia Salmons,          |

17       et al., v. McKesson                   |

18       Corporation, et al.                   |

19       Case No. 1:18-OP-45268                |

20

21                         VIDEOTAPED DEPOSITION OF

22                        DR. KANWALJEET ANAND, M.D.

23                              January 28, 2020

24                             Chicago, Illinois

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1               A.      Sure.
2               Q.      And are those other -- do those
3       other substances include benzodiazapine?
4               A.      That is correct.
5               Q.      Do they include things like alcohol?
6               A.      Yes.
7               Q.      Do they include drugs like nicotine
8       in the form of tobacco smoking?
9               A.      Yes.
10              Q.      Do they include other drugs of
11      abuse?
12              A.      Yes, they could.
13              Q.      Have you seen babies whose mothers
14      have used methamphetamines, for example?
15              A.      That is correct.
16              Q.      Do you have a sense to what degree
17      those other substances, if present, or if used
18      by the mom, contribute to the symptomatology of
19      a baby born with NAS?
20              A.      They certainly do, although the
21      symptomology of NAS is quite distinct from the
22      withdrawal syndrome from some of those other
23      drugs.
24                      Neonatal abstinence syndrome, as it


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1       is defined in the literature and as the term
2       was promoted, you know, by the studies in the
3       early '70s, applies to opiate withdrawal, which
4       is, as I've listed in my report, a
5       constellation of neurological excitability,
6       gastrointestinal disturbances and autonomic
7       instability, and that entire constellation
8       comprises NAS.
9                          Opiates, as you know, are depressant
10      drugs.          They reduce neuronal excitability.               And
11      where some of these other drugs,
12      methamphetamine -- another example is cocaine
13      or PCP, crack, these are all stimulant drugs,
14      so the syndrome that they produce from
15      withdrawal is quite different.
16                         You mentioned benzodiazapines.              Now,
17      benzodiazapine is also a depressant, similar to
18      opiates, but the benzodiazapine withdrawal that
19      is seen is quite different from opiate
20      withdrawal.
21                         For example, benzodiazapine
22      withdrawal, you have a flapping-like tremor.
23      In opiate withdrawal, you have a fine tremor.
24      In benzodiazapine withdrawal and opiate


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1       withdrawal, you both have insomnia, but in
2       opiate withdrawal, you have hypertonicity,
3       muscle tone is increased and the deep tendon
4       reflexes are hyperreflexic, whereas in
5       benzodiazepines withdrawal, it's the opposite.
6       Muscle tone is decreased.                They are actually
7       the floppy infants.           And their deep tendon
8       reflexes are also suppressed.
9                       So there are ways of differentiating
10      benzodiazepine withdrawal from opiate
11      withdrawal even though both of those are
12      sedatives.
13                      In benzo withdrawal, you don't get
14      any gastrointestinal problems.                     There is none
15      of the sucking, swallowing, dysphagia,
16      retching, vomiting, diarrhea, abdominal
17      cramping, all of those things just don't occur.
18                      So those are different syndromes
19      clinically and that's why NAS, as it is
20      described in the literature, it's important to
21      establish that clinical diagnosis.
22              Q.      Alcohol is, likewise, a central
23      nervous system depressant, correct?
24              A.      That is correct.


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1               Q.      So it would fall in the category of
2       benzodiazepines and opioids as a central
3       nervous system depressant?
4               A.      That is correct, absolutely.
5               Q.      Now, as is -- if you take a mom
6       who's used multiple substances, can you predict
7       what the outcome in the baby is going to be?
8                       And by that I mean is if I -- if you
9       had a baby in front of you, can you know if
10      that is a benzodiazapine, opioid, hero- --
11      heroin, tobacco, cocaine baby as opposed to a
12      meth, alcohol, Klonopin baby?
13              A.      The babies that will manifest with
14      NAS, if they're occurring in the setting of
15      other substances being abused, will clearly
16      show signs of NAS, and I'll tell you why.
17                      When you give these things together,
18      when you give opiates, you give, say,
19      oxycodone, and you give benzodiazapine or
20      alcohol or methamphetamine or Ketamine or all
21      of these other drugs, they accelerate the rate
22      at which tolerance occurs to the opiate.
23                      So the escalation of doses required
24      is much higher.         So when there is -- the


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1       umbilical cord is cut, the prominent, most
2       prominent symptomology you see is from the
3       opiate withdrawal.
4                       On the other hand if, like you
5       mentioned, if there is alcohol, methamphetamine
6       and Klonopin being abused and you add maybe,
7       you know -- so the reverse is not true.
8                       Giving opiates does not increase the
9       rate of tolerance to these other drugs, whereas
10      these other drugs increases the rate of
11      tolerance to opiates.             And that's been shown in
12      the lab in, you know, various different
13      experimental symptoms.
14                      So that's why, if there is an
15      exposure and you're seeing signs and symptoms
16      of NAS, it is the opiate withdrawal that is the
17      most prominent aspect.              And you'll -- you'll
18      see all of -- of the constellation that I
19      mentioned, you know, the agitation, tremors,
20      irritability, insomnia, seizures from the CNS
21      hyperexcitability, all the GI symptoms that I
22      mentioned and the autonomic instability with
23      altered heart rate, respiratory rate,
24      respiratory pattern, irregular respiratory


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1       patterns, you know, abnormal skin blood flow,
2       excoriation of the skin, all of those things
3       are the autonomic instability that -- so
4       those -- although there may be some overlap in
5       the signs and symptoms, the -- clinical
6       diagnosis -- it's a clinical diagnosis based on
7       everything that the child is manifesting.
8                       And it's fairly clear to any
9       clinician to make that diagnosis.
10              Q.      Okay.    So I'm going to read you a
11      sentence from what's the article marked in
12      Exhibit 13.
13                      MR. BILEK:        Yes, could you speak up
14              a little bit, I'm sorry --
15                      MR. EHSAN:        Sure.
16      BY MR. EHSAN:
17              Q.      I'll read you a sentence from what's
18      been marked as Exhibit 13 and ask if you agree
19      or disagree.
20                      And this -- this states that:
21                      MR. BILEK:        What -- what page are
22              you on?
23                      MR. EHSAN:        I'm on the first page.
24                      MR. BILEK:        Oh, I'm sorry.


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1               A.         So, so I apologize, there is an
2       updated version of this, but this doesn't seem
3       to be the Exhibit Number 8.
4               Q.         So Exhibit 8 --
5               A.         This document was revised, and I
6       can -- I can tell you, you know, how it was
7       revised.          I had taken out the and/ from each of
8       those.          It was A or B or C or D or E, and from
9       E, I had taken out maternal blood, urine, and
10      hair analysis.
11              Q.         Okay.    So let's --
12              A.         For whatever reason, this was not
13      the final document.
14              Q.         So let's back up, and we'll just
15      take this step by step.
16                         So Exhibit 8 is in fact, though,
17      your signed declaration of December 8, 2019,
18      correct?          Got your signatures, got that date?
19              A.         Yes, yeah.
20              Q.         However --
21              A.         Whatever -- yeah.
22              Q.         Okay.    However, you believe or
23      understand that there is a version of this
24      document that is slightly different, at least


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1       as it rely -- relates to Item Number 3, A, B,
2       C, D and E; is that correct?
3               A.      That is correct, yeah.
4               Q.      And for the version that you believe
5       was the updated version, the ands have been
6       stricken and there are only ors; is that
7       correct?
8               A.      Yes.
9               Q.      You answered -- you predicted one of
10      my questions, what do the and/ors mean.                      The
11      second is you said that maternal blood, urine,
12      and hair analysis.           Did you cut out urine and
13      hair, or blood and hair?
14              A.      All maternal blood, urine, and hair.
15      It's simply based on the baby's umbilical cord
16      blood and the baby's meconium testing.
17              Q.      Okay.     Any other changes?
18              A.      No.
19              Q.      Okay.     So if a baby is -- meets any
20      of these conditions, then that baby would be
21      monitored; is that correct?
22              A.      That is correct.
23              Q.      And if appropriate, there would be
24      intervention for that baby; is that correct?


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1       weaning off of those medications?
2               A.      The weaning off of those
3       medications.          So would -- the baby would be
4       placed on tapering doses of those drugs, and,
5       again, getting at the reticence of health care
6       providers not charting the diagnosis, but using
7       a treatment, which is clearly designed to treat
8       NAS.
9                       For example, a child with NAS, we
10      wouldn't give, you know, cocaine or
11      methamphetamine to.            We would use opioids.
12              Q.      Now, would that C capture children
13      who had immediate postnatal surgery and were on
14      morphine that was being tapered off because of
15      post -- postsurgical pain management?
16              A.      No.
17              Q.      Okay.     So it would only be children
18      who are put on morphine, methadone,
19      buprenorphine or other opioids for the purposes
20      of addressing their symptom -- symptomatology
21      not for the management of pain; is that
22      correct?
23              A.      That is correct.
24              Q.      And then D says children who are


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1       slightly differently:
2                       Would you believe that your
3       monitoring program would eliminate the
4       difficulties that children born with NAS will
5       face as a result of health insurance issues or
6       family structure issues or poverty issues?
7               A.      It will not eliminate those factors.
8                       What it will do is to provide for
9       monitoring surveillance and support that is
10      currently not being provided by the healthcare
11      system or by the education system or by the
12      social services system.
13                      The kind of evaluations that we have
14      included in our monitoring surveillance
15      protocol are not done routinely, and it will
16      help to diagnose conditions early so that we
17      can address them at a time when they are
18      pliable to being overcome, not eliminated, but
19      overcome.
20              Q.      Besides money, is there anything
21      that prevents the healthcare system as it
22      currently exists to provide the services you're
23      suggesting?
24              A.      I think there is currently a lack of


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1               Q.      Okay.     So this language you have
2       here parallels that of Doyle, correct?
3               A.      It is identical to that, and I give
4       that reference just below.
5               Q.      Understood.          But there is one
6       specific change.
7                       In the sentence that starts "second"
8       --
9               A.      Yeah.
10              Q.      -- if you look at your sentence, it
11      says:
12                      Second, most of the developmental
13      problems can be ameliorated.
14                      But if you look at the Doyle study,
15      it says:
16                      Second, some problems can be
17      ameliorated.
18                      Do you see that?
19              A.      That's right.
20              Q.      So you made that change; is that
21      correct?
22              A.      That is correct.
23              Q.      And so does that mean you agree with
24      what Doyle said or you disagree and wanted to


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